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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT


                                                           No.: 3:14-cv-956 (JBA)
 JOSEPH STRAUCH, TIMOTHY COLBY,
 CHARLES TURNER, and VERNON CARRE, on
 behalf of themselves and all those similarly situated,    PLAINTIFFS’ MOTION FOR
                                                           PROTECTIVE ORDER AND TO
                        Plaintiffs,                        SUBMIT DETAILED TIME AND
                                                           EXPENSE RECORDS UNDER
            v.                                             SEAL

 COMPUTER SCIENCES CORPORATION,

                        Defendant.




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            Pursuant to Local Rule 5(e), Plaintiffs and their counsel (“Class Counsel”) respectfully

hereby move this Court for (1) a protective order limiting the use of their detailed time records to

solely litigation regarding Class Counsel’s Post-Trial Motion for Attorneys’ Fees and Costs

(“Motion for Fees and Costs”) and (2) leave to file their detailed time records under seal.

I.          BACKGROUND

            In support of its Motion for Fees and Costs, Class Counsel will submit to the Court a

compendium of confidential and non-public detailed time records as Exhibit Q to the Declaration

of Jahan C. Sagafi. To provide Defendant with a full and fair opportunity to oppose Class

Counsel’s Class Counsel’s Motion for Fees and Costs, Class Counsel will also provide

Defendant’s counsel with the same confidential time records to be used for the limited purpose

of opposing that Motion. In addition, each firm will also submit declarations describing the

work they have done in this case and attesting to the authenticity of their time records.

            Class Counsel’s detailed, contemporaneous time records contain confidential information

that is protected by the attorney-client privilege and work-product doctrine. Hutchinson Decl.

¶¶ 4-5. If those records were made available to Defendant for all purposes, Plaintiffs’ ability to

prosecute their case would be severely compromised should the case be returned to active

litigation by Defendant’s appeal. Allowing such access to detailed records of the Class Counsel’s

strategies, description of work product, and internal communications – even in redacted form –

could provide insights into core attorney work product and provide CSC an undue advantage in

this litigation. The attorney-client communications contained in the voluminous billing records

are prevalent, making redaction of such privileged information overly burdensome and

impractical. Id. ¶ 6.




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            Prior to filing this motion, Plaintiffs met and conferred telephonically with Defendant to

request that Defendant agree to limit its use of Class Counsel’s detailed time records solely to

opposing the Motion for Fees and Costs. Defendant refused and confirmed that it did not

consent to Plaintiff’s request. There is therefore a clear risk that, if not protective order is issued,

Defendant will use Class Counsel’s confidential and privileged time records to oppose Plaintiffs’

and class members’ claims.

            Class Counsel therefore moves this Court for a protective order limiting use of the

detailed time records only for the purpose of defending Class Counsel’s Motion for Fees and

Expenses, and for leave to file their detailed time records under seal.

II.         ARGUMENT

            1.     Class Counsel’s Detailed Time Records Include Privileged Information and
                   Litigation Strategies.

            The voluminous, detailed time records Plaintiffs seek to file under seal contain

confidential descriptions of communications with clients, particular areas of research, and other

details of the work performed by attorneys in this case that are protected by the attorney-client

privilege and the work product doctrine. This procedure is specifically contemplated by this

Court’s Local Rules. See Civ. L. R. 5(e).

            Class Counsel’s detailed time and expense records contain references to protected

attorney-client communications, and information that is protected as attorney work product. The

attorney-client privilege protects confidential communications between client and attorney “for

the purpose of obtaining or providing legal advice.” United States v. Constr. Prod. Research,

Inc., 73 F.3d 464, 473 (2d Cir. 1996). Similarly, the attorney work product doctrine protects from

disclosure documents “prepared principally or exclusively to assist in anticipated or ongoing



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litigation.” Id. There is no question that Class Counsel’s detailed time records were prepared to

assist in ongoing litigation.

            “Correspondence, bills, ledgers, statements, and time records which also reveal the

motive of the client in seeking representation, litigation strategy, or the specific nature of the

services provided, such as researching particular areas of law, fall within [attorney-client]

privilege.” Bria v. United States, No. 3:01MC(CFD), 2002 WL 663862, at *5 (D. Conn. Mar. 26,

2002) (emphasis added). Here, Class Counsel’s detailed time and expense records contain

precisely such information. The time entries describe the work done by Class Counsel on a day-

to-day basis as they prosecuted this action. The detailed time entries therefore disclose

confidential case strategies, including a detailed accounting of the work performed and the

attorneys who performed that work. Hutchinson Decl. ¶¶ 4-5. They also contain

communications between counsel and class representatives (as well as class members who

requested that their identities not be shared with Defendant). Redacting this privileged

information from detailed billing records spanning more than five years would be overly

burdensome and impractical. Id. at ¶ 6.

                   a.      Providing Records to Defendants for the Limited Purpose of
                           Defending Motion for Fees and Expenses Does Not Amount to
                           Waiver.

            Class Counsel seeks to disclose their detailed time records to CSC for a limited purpose

in this litigation, without waiving confidentiality or privilege. Class Counsel therefore request

that this Court issue a protective order establishing that CSC may only use this information for

purposes of opposing the Motion for Fees and Costs, and not for any other litigation purpose.

See, e.g., Fed. R. Evid. 502(d) (allowing federal courts to “order that the privilege or protection

is not waived by disclosure connected with the litigation pending before the court”); Certain

Underwriters at Lloyd’s, London v. Nat’l R.R. Passenger Corp., 218 F. Supp. 3d 197, 201
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(E.D.N.Y. 2016) (noting that “an appropriately worded protective order may prevent waiver due

to a producing party’s disclosure of privileged information,” while party’s subsequent use

without objection can waive applicable privilege). Good cause exists for granting the requested

protective order. Absent the Court’s intervention, CSC may receive key insights into Class

Counsel’s litigation strategy and gain an undue advantage in a pending class action for which

Defendant already filed a notice of appeal. See Dkt. 519; G-I Holdings, Inc. v. Baron & Budd,

199 F.R.D. 529, 535 (S.D.N.Y. 2001). Class Counsel respectfully submit that providing

Defendant with the opportunity to oppose the Motion for Fees and Costs should not come at the

price of permitting Defendant unfettered access to Plaintiffs’ litigation strategy. Indeed,

Plaintiffs do not even have access to Defendant’s counsel’s detailed time records. It is only fair

that Defendant should not have unlimited use of Plaintiffs’ counsel’s detailed time records.

            2.     There Are Clear and Compelling Reasons to Allow Class Counsel to File
                   Detailed Time Records Under Seal.

            For the reasons stated above, allowing Class Counsel to file their detailed time records

under seal is “supported by clear and compelling reasons and is narrowly tailored to serve those

reasons.” See Civ. L. R. 5(e). Protecting attorney-client privilege and attorney work product is a

“clear and compelling reason” to seal Class Counsel’s detailed time records. Travelers Indem.

Co. v. Excalibur Reinsurance Corp., No. 3:11-CV-1209 CSH, 2013 WL 4012772, at *6 (D.

Conn. Aug. 5, 2013) (finding that sealing document was supported by “clear and compelling

reasons,” including attorney-client privilege). In addition, Class Counsel’s detailed time records

are non-public, confidential business records that Class Counsel has maintained in confidence.

            Courts have repeatedly allowed for parties’ submission of detailed, contemporaneous

time records under seal. Vineyard Vines, LLC v. MacBeth Collection, L.L.C., No.

3:14CV01096(SALM), 2018 WL 6333828, at *17 (D. Conn. Dec. 5, 2018), reconsideration

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denied, No. 3:14CV01096 (SALM), 2019 WL 140885 (D. Conn. Jan. 9, 2019) (allowing plaintiff

to file detailed, contemporaneous time records under seal); Cassese v. Williams, 503 F. App’x

55, 58 (2d Cir. 2012) (“Nor do we identify error in the district court’s failure to order disclosure

of class counsel’s contemporaneous time records, appended to the fee request and

filed under seal.”); Andrews v. Blick Art Materials, LLC, 286 F. Supp. 3d 365, 386 (E.D.N.Y.

2017) (keeping affidavit and information concerning attorneys’ fees under seal); Heisman

Trophy Tr. v. Smack Apparel Co., 637 F. Supp. 2d 146, 159 (S.D.N.Y. 2009), aff’d, 379 F.

App’x 12 (2d Cir. 2010), and aff’d, 379 F. App’x 12 (2d Cir. 2010) (requesting detailed billing

document to be “filed under seal, if necessary”).

            Sealing these detailed time records, an exhibit to a declaration in support of Plaintiffs’

Motion for Fees and Expenses, is a “narrowly tailored” remedy. Class Counsel seeks to file

under seal only one exhibit of its Motion for Fees and Expenses. The Motion itself, as well as all

other materials supporting it, have been filed publicly and are therefore subject to public

inspection. Moreover, redacting the privileged information throughout the detailed billing

records spanning more than five years would be overly burdensome and impractical. Hutchinson

Decl. at ¶ 6; see Travelers Indem., 2013 WL 4012772, at *8 (granting request to seal documents

when they “contain such a quantity of confidential information that redaction ‘is not a practical

alternative’ to sealing them in their entirety”).

            Allowing Class Counsel to file its voluminous time records under seal is therefore

appropriate.

III.        CONCLUSION

            For the foregoing reasons, Plaintiffs respectfully request that this motion be granted, and that

this Court issue a protective order and an order granting Plaintiffs leave to file expense records under

seal.
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Dated: September 18, 2019                Respectfully submitted,

                                         By: /s/ Daniel M. Hutchinson
                                              Daniel M. Hutchinson

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